                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION


UNITED STATES                                             )
                                                          )
v.                                                        )                       No. 3:10-cr-00163
                                                          )                       Judge Trauger
ANTONIO WASHINGTON                                        )



                                                    ORDER



         Before the court is a motion by Antonio Washington to reduce his sentence.1 (Docket No.

2056). Washington’s motion appears to rely on Amendment 782 to the United States Sentencing

Guidelines, which is currently anticipated to go into effect on November 1, 2014, and to apply

retroactively. (Id.)(“I’m writing on behalf of the “2 points reducing.”).

         The United States is DIRECTED to reply to the motion filed by Washington within thirty

(30) days of receipt of this order.

         It is so ORDERED.




                                                      Aleta A. Trauger
                                                      United States District Judge




         1
         On June 21, 2011, the court accepted Washington’s plea of guilty to Count 1 of the superseding indictment,
which charged conspiracy to participate in racketeering activity in violation of 18 U.S.C. § 1962(d). (Docket No. 640).
On October 6, 2011, the court sentenced Washington to imprisonment for ninety-six months. (Docket No. 764).


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